Case 3:20-cv-08393-FLW-DEA Document 19 Filed 02/10/21 Page 1 of 1 PageID: 692




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                              :
CAUSEWAY AUTOMOTIVE, LLC,                     :
CONTI CAUSEWAY FORD, INC.,                    :       Civil Action No. 20-8393 (FLW) (DEA)
CAUSEWAY NISSAN, LLC, and                     :
CAUSEWAY HYUNDAI, LLC,                        :
                                              :
                       Plaintiffs,            :
                                              :                      ORDER
       v.                                     :
                                              :
ZURICH AMERICAN INSURANCE                     :
COMPANY, ABC CORPS. 1-5,                      :
                                              :
                       Defendants.            :
                                              :

       THIS MATTER comes before the Court on a Motion to Dismiss filed pursuant to Federal

Rule of Civil Procedure 12(b)(6) by William D. Wilson, Esq, counsel for Defendant Zurich

American Insurance Company (“Defendant”); it appearing that Plaintiffs Causeway Automotive,

LLC, Conti Causeway Ford, Inc., Causeway Nissan, LLC, and Causeway Hyundai, LLC

(“Plaintiffs”), through their counsel, Gary Ahladianakis, Esq., oppose Defendant’s motion; the

Court having reviewed the submissions of the parties pursuant to Federal Rule of Civil Procedure

78, for the reasons set forth in the Opinion also filed on this date, and for good cause shown,

       IT IS on this 10th day of February, 2021,

       ORDERED that Defendant’s Motion to Dismiss is GRANTED; and it is further;

       ORDERED that Plaintiffs’ Complaint is DISMISSED.

                                                                     /s/ Freda L. Wolfson
                                                                     Freda L. Wolfson
                                                                     U.S. Chief District Judge
